






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00056-CV






In re First United Methodist Church of Round Rock






ORIGINAL PROCEEDING FROM WILLIAMSON COUNTY




M EM O R A N D U M   O P I N I O N




		After filing a petition for writ of mandamus and request for emergency stay, relator
First United Methodist Church of Round Rock has informed this Court that the underlying cause has
settled and the issues raised in the petition and emergency motion are now moot.  Accordingly,
we&nbsp;grant relator's motion and dismiss the petition for writ of mandamus and request for
emergency&nbsp;relief.



						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Dismissed on Relator's Motion

Filed:   February 18, 2011


